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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


  IN RE: FEMA                                                                     MDL NO. 1873
  FORMALDEHYDE
  PRODUCT LIABILITY LITIGATION                                                  SECTION “N-5"

                                                                        JUDGE ENGELHARDT

                                                                        MAG. JUDGE CHASEZ

  THIS DOCUMENT IS RELATED TO:
  Mark R. Mosley, as wrongful death beneficiary
  and representative of Betty O. Mosley, Deceased, et al
  v Gulf Stream Coach, Inc., et al
  Case No. 2:10-cv-1356
  ______________________________________________________________________________

                                     ORDER
  ______________________________________________________________________________

         Considering the foregoing Second Motion of Plaintiffs, Plaintiffs are allowed until

  August 2nd, 2010, or until __________________, 2010, to serve the Defendants.

         IT IS SO ORDERED that the Plaintiffs listed above be GRANTED the Second Motion

 for Extension of Time to Serve.
Hello This is a Test
         DATED this 24th              June
                    ____ day of _______________, 2010 in New Orleans, Louisiana.



                                              By:     ____________________________________
                                                      KURT D. ENGELHARDT
                                                      UNITED STATES DISTRICT JUDGE

  Submitted By:
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